     Case: 1:19-cr-00567 Document #: 90 Filed: 02/11/20 Page 1 of 1 PageID #:420

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 11, 2020:


        MINUTE entry before the Honorable Harry D. Leinenweber: Status hearing/ruling
date set for 2/13/20 is re−set to 3/5/20 at 10:00 a.m. Defendant Kelly's Motion for
Reconsideration of Pre−Trial Detention [54] is continued for argument on 3/5/20.
Defendant Kelly's [83, 85, 87] set for presentment on 2/11/20 will be heard on 3/5/20 at
10:00 a.m. No appearance is needed on 2/11/20. Defendant Kelly ordered to appear and be
transported by U.S. Marshals Service: Status hearing set for 3/5/20 at 10:00 a.m. Mailed
notice (maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
